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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

 Case No.        2:20-cv-03797-FLA-JC                                            Date   March 13, 2021
 Title           Francis J. Racioppi, Jr. v. Dmitry Borisovich Bosov, et al.



 Present: The Honorable        Jacqueline Chooljian, United States Magistrate Judge
                 Kerri Hays                          AT&T Teleconference                          n/a
                Deputy Clerk                       Court Reporter / Recorder                    Tape No.
   Attorneys (Telephonically) Present for Plaintiff:         Attorneys/Others (Telephonically) Present for
                                                                      Defendants/Third Parties:1
                      David J. Carroll                                     Stephen G. Larson
                                                                          A. Alexander Lowder

                                                                           Matthew E. Sloan
                                                                            Raza Rasheed

                                                                          David B. Golubchik
                                                                           Armen Avedissian

                                                                               Jimmy C. Taus

                                                                           Paul S. Malingagio
                                                                             Alan M. Feld
                                                                            Sarah A.K. Blitz




         1
        Attorneys Larson and Lowder represent Genius Fund I, Inc.; Genius Fund I, LLC; Genius
Delivery, LLC; Genius Sales LLC; Genius Products T, Inc.; Genius Products NT, Inc.; and Genius
Products, Inc.

       Attorneys Sloan and Rasheed represent Katerina Bosov, representative of the Estate of Dmitry
Bosov; Alltech Investments Ltd.; and Goldhawk Investments Ltd.

        Attorney Golubchik who was present, and Kurt Ramlo who was not present currently represent
the following individuals/entities, but have pending a motion to withdraw as to a subset thereof: Gary I.
Shinder; Earth Solar System Milky Way, LLC; Heli Biotech LLC; Dr. Kush World Collective LLC; Eagle
Rock Herbal Collective LLC; Genius Products, LLC; Full Circle Labs LLC; Nature’s Holiday LLC;
Variant Hemp Solutions LLC; Planck Properties LLC; Aristotle Equipment LLC, and interested third
party Genius Fund I ABC, LLC (whose manager Mr. Avedissian was also present).

         Attorney Taus represents interested third parties Heli Holdings, LLC and Joseph Ohayon.

         Attorneys Malingagio, Feld, and Blitz represent interested third party Heli Holdings LLC.
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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

 Case No.       2:20-cv-03797-FLA-JC                                          Date   March 13, 2021
 Title          Francis J. Racioppi, Jr. v. Dmitry Borisovich Bosov, et al.


 Proceedings:       (TELEPHONIC) HEARING RE MAINTENANCE OF LICENSES

        Case called. Counsel made their appearances. The Court heard argument from counsel, orally
ruled, and indicated a written order memorializing such rulings (which has been entered as Docket No.
189) would issue.




                                                                                     1       :    45
                                                   Initials of Clerk                      KLH




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